               Case 15-11221                     Doc 16              Filed 04/21/15 Entered 04/21/15 16:50:50   Desc Main
                                                                       Document     Page 1 of 7


                                                                      OFFICIAL LOCAL FORM 3


                                                        UNITED STATES BANKRUPTCY COURT
                                                           DISTRICT OF MASSACHUSETTS

                                                             CHAPTER 13 PLAN COVER SHEET

 Filing Date:                 3/31/15                                             Docket #:    15-11221
 Debtor:                     Yvonne V. Skapars                                    Co-Debtor:
 SS#:                        xxx-xx-5580                                          SS#:
                             122 Oakmont Road
 Address:                    Yarmouth Port, MA 02675                              Address:

 Debtor's Counsel: Peter M. Daigle 640517
                             1550 Falmouth Road
                             Suite 10
 Address:                    Centerville, MA 02632
 Telephone #:                (508) 771-7444
 Facsimile #:                (508) 771-8286


ATTACHED TO THIS COVER SHEET IS THE CHAPTER 13 PLAN FILED BY THE DEBTOR(S) IN THIS CASE. THIS
PLAN SETS OUT THE PROPOSED TREATMENT OF THE CLAIMS OF CREDITORS. THE CLAIMS ARE SET
FORTH IN THE BANKRUPTCY SCHEDULES FILED BY DEBTOR(S) WITH THE BANKRUPTCY COURT.


YOU WILL RECEIVE A SEPARATE NOTICE FROM THE BANKRUPTCY COURT OF THE SCHEDULED
CREDITORS' MEETING PURSUANT TO 11 U.S.C. § 341. THAT NOTICE WILL ALSO ESTABLISH THE BAR DATE
FOR FILING PROOFS OF CLAIMS.


PURSUANT TO THE MASSACHUSETTS LOCAL BANKRUPTCY RULES, YOU HAVE UNTIL THIRTY (30) DAYS
AFTER THE § 341 MEETING OR THIRTY (30) DAYS AFTER THE SERVICE OF AN AMENDED OR MODIFIED PLAN
TO FILE AN OBJECTION TO CONFIRMATION OF THE CHAPTER 13 PLAN, WHICH OBJECTION MUST BE
SERVED ON THE DEBTOR, DEBTOR'S COUNSEL AND THE CHAPTER 13 TRUSTEE.




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               Case 15-11221                     Doc 16              Filed 04/21/15 Entered 04/21/15 16:50:50                      Desc Main
                                                                       Document     Page 2 of 7
                                                                     OFFICIAL LOCAL FORM 3

                                                         UNITED STATES BANKRUPTCY COURT
                                                            DISTRICT OF MASSACHUSETTS

                                                    PRE-CONFIRMATION CHAPTER 13 PLAN

                                                                          CHAPTER 13 PLAN


       Docket No.: 15-11221

 DEBTOR(S):                (H)      Yvonne V. Skapars                                                     SS#        xxx-xx-5580

                           (W)                                                                            SS#



I. PLAN PAYMENT AND TERM:

      Debtor's shall pay monthly to the Trustee the sum of $ 408.00                    for the term of:

          36 Months. 11 U.S.C. § 1325(b)(4)(A)(i);

          60 Months. 11 U.S.C. § 1325(b)(4)(A)(ii);

          60 Months. 11 U.S.C. § 1322(d)(2). Debtor avers the following cause:

       STATEMENT OF CAUSE PURSUANT TO 11 U.S.C. 1322(d): The Chapter 13 plan must be longer than thirty-six                                        ;or
       (36) months because Debtor's available income is insufficient to complete the plan in less time than stated
       above under the Terms of the Plan.

                 Months. The Debtor states as reasons therefore:




II. SECURED CLAIMS

A. Claims to be paid through the plan (including arrears):

 Creditor                                             Description of Claim (pre-petition arrears,                              Amount of Claim
                                                      purchase money, etc.)
 -NONE-                                                                                                   $

         Total of secured claims to be paid through the Plan $                                                0.00
B. Claims to be paid directly by debtor to creditors (Not through Plan):
Creditor                                                                                    Description of Claim
 Champion Mortgage                                                       Reverse mortgage

C. Modification of Secured Claims:

 Creditor                                                    Details of Modification                                    Amt. of Claim to Be Paid
                                                             (Additional Details                                                   Through Plan
                                                             May Be Attached)
 -NONE-



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                 Case 15-11221                   Doc 16              Filed 04/21/15 Entered 04/21/15 16:50:50         Desc Main
                                                                       Document     Page 3 of 7

D. Leases:

            i.    The Debtor(s) intend(s) to reject the residential/personal property lease claims of
                      -NONE-
                  ; or

            ii. The Debtor(s) intend(s) to assume the residential/personal property lease claims of
                      -NONE-
                  .

            iii. The arrears under the lease to be paid under the plan are              0.00 .

III. PRIORITY CLAIMS

A. Domestic Support Obligations:

 Creditor                                             Description of Claim                                           Amount of Claim
 -NONE-                                                                                                 $

B. Other:

 Creditor                                             Description of Claim                                           Amount of Claim
 -NONE-                                                                                                 $

 Total of Priority Claims to Be Paid Through the Plan $                     0.00


IV. ADMINISTRATIVE CLAIMS

A. Attorneys fees (to be paid through the plan):                                                                            $    0.00

B. Miscellaneous fees:

 Creditor                                             Description of Claim                                           Amount of Claim
 -NONE-                                                                                                 $

C. The Chapter 13 Trustee's fee is determined by Order of the United States Attorney General. The calculation of the Plan payment
   set forth utilizes a 10% Trustee's commission.

V. UNSECURED CLAIMS

The general unsecured creditors shall receive a dividend of                   35.4186   % of their claims.

A. General unsecured claims:                                                                                     $   26,747.65

B. Undersecured claims arising after lien avoidance/cramdown:

 Creditor                                             Description of Claim                                           Amount of Claim
 -NONE-                                                                                                      $

C. Non-Dischargeable Unsecured Claims:

 Creditor                                             Description of claim                                           Amount of Claim
 Acs/slma/town Center                                 Educational                                            $              15,193.00
 Dept Of Ed/navient                                   Educational                                            $              20,264.00

 Total of Unsecured Claims (A + B + C):                                                                      $              62,204.65

D. Multiply total by percentage: $       22,032.00
    (Example: Total of $38,500.00 x .22 dividend = $8,470.00)

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               Case 15-11221                     Doc 16              Filed 04/21/15 Entered 04/21/15 16:50:50                Desc Main
                                                                       Document     Page 4 of 7

E. Separately classified unsecured claims (co-borrower, etc.):

             Creditor                                          Description of claim                                         Amount of claim
             -NONE-                                                                                       $

             Total amount of separately classified claims payable at                    %                     $                         0.00


VI. OTHER PROVISIONS

            A. Liquidation of assets to be used to fund plan:

            B. Miscellaneous provisions:



VII. CALCULATION OF PLAN PAYMENT

 A) Secured claims (Section I-A Total):                                                    $                                   0.00
 B) Priority claims (Section II-A&B Total):                                                $                                   0.00
 C) Administrative claims (Section III-A&B Total):                                         $                                   0.00
 D) Regular unsecured claims (Section IV-D Total):+                                        $                              22,032.00
 E) Separately classified unsecured claims:                                                $                                   0.00
 F) Total of a + b + c + d + e above:                                                    =$                               22,032.00
 G) Divide (f) by .90 for total including Trustee's fee:
                                                       Cost of Plan=                       $                              24,480.00

                    (This represents the total amount to be paid into the Chapter 13 plan)
 H. Divide (G), Cost of Plan, by Term of Plan,                                           60 months
 I. Round up to nearest dollar for Monthly Plan                                            $                                 408.00
 Payment:
 (Enter this amount on page 1)

Pursuant to 11 U.S.C. § 1326(a) (1), unless the Court orders otherwise, a debtor shall commence making the payments proposed by a
plan within thirty (30) days after the petition is filed. Pursuant to 11 U.S.C. §1326(a)(1)(C), the debtor shall make preconfirmation
adequate protection payments directly to the secured creditor.


VIII. LIQUIDATION ANALYSIS

A. Real Estate:

 Address                                                                              Fair Market Value       Total Amount of Recorded Liens
                                                                                                                                (Schedule D)
 Location: 122 Oakmont Road, Yarmouth Port
 MA 02675                                                                $                  494,151.00    $                             0.00

 Total Net Equity for Real Property:                       $                 494,151.00
 Less Exemptions (Schedule C):                             $                 494,151.00
 Available Chapter 7:                                      $                       0.00

B. Automobile (Describe year, make and model):

 2006 Chrysler                                            Value $                8,241.00 Lien $                  0.00 Exemption $             7,500.00

 Total Net Equity:                                         $ 8,241.00
 Less Exemptions (Schedule C):                             $ 7,500.00
 Available Chapter 7:                                      $ 741.00

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               Case 15-11221                     Doc 16              Filed 04/21/15 Entered 04/21/15 16:50:50            Desc Main
                                                                       Document     Page 5 of 7
C. All other Assets (All remaining items on Schedule B): (Itemize as necessary)
 Cape Cod Co Op Checking Account
 Cape Cod Co Op Savings Account
 Misc.
 Misc.
 Misc.
 Ameriprise IRA
 Skapars Nominee Trust
 Potential Claim against family member

 Total Net Value:                                          $ 51,889.65
 Less Exemptions (Schedule C):                             $ 30,862.97
 Available Chapter 7:                                      $ 21,026.68

D. Summary of Liquidation Analysis (total amount available under Chapter 7):

 Net Equity (A and B) plus Other Assets (C) less all claimed exemptions: $                                   21,767.68

E. Additional Comments regarding Liquidation Analysis:



IX. SIGNATURES

Pursuant to the Chapter 13 rules, the debtor or his or her attorney is required to serve a copy of the Plan upon the Chapter 13 Trustee,
all creditors and interested parties, and to file a Certificate of Service accordingly.

 /s/ Peter M. Daigle                                                                      April 21, 2015
 Peter M. Daigle 640517                                                                       Date
 Debtor's Attorney
 Attorney's Address: 1550 Falmouth Road
                              Suite 10
                              Centerville, MA 02632
                              Tel. #:          (508) 771-7444 Fax:(508) 771-8286
                              Email Address: pmdaigleesq@yahoo.com

I/WE DECLARE UNDER THE PENALTIES OF PERJURY THAT THE FOREGOING REPRESENTATIONS OF FACT
ARE TRUE AND CORRECT TO THE BEST OF OUR KNOWLEDGE AND BELIEF.


 Date April 21, 2015                                                     Signature   /s/ Yvonne V. Skapars
                                                                                     Yvonne V. Skapars
                                                                                     Debtor




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Case 15-11221     Doc 16    Filed 04/21/15 Entered 04/21/15 16:50:50   Desc Main
                              Document     Page 6 of 7


 Greensboro, NC 27410

 Bank Of America
 Po Box 982235
 El Paso, TX 79998

 Capital One
 Attn: Bankruptcy
 Po Box 30285
 Salt Lake City, UT 84130

 Capital One
 Po Box 85520
 Richmond, VA 23285

 Chase Card
 P.o. Box 15298
 Wilmington, DE 19850

 Chase Mtg
 Po Box 24696
 Columbus, OH 43224

 Collection
 4500 Salisbury Rd Ste 10
 Jacksonville, FL 32216

 Nationstar Mortgage LLC
 Attn: Bankruptcy
 350 Highland Dr
 Lewisville, TX 75067

 Nationstar Mortgage LLC
 Po Box 199111
 Dallas, TX 75235
Case 15-11221        Doc 16   Filed 04/21/15 Entered 04/21/15 16:50:50          Desc Main
                                Document     Page 7 of 7


                        UNITED STATES BANKRUPTCY COURT
                       FOR THE DISTRICT OF MASSACHUSETTS

 ____________________________________
                                     )
 IN RE:                              )
 YVONNE V. SKAPARS                   )                      Chapter 13
        Debtor,                      )                      Case No.: 15-11221
 ____________________________________)


                              CERTIFICATE OF SERVICE

 The undersigned hereby certifies a copy of the Chapter 13 plan has been served by first
 class mail postage prepaid upon the creditors of record as set forth on the following
 pages.


                                             /s/ Peter M. Daigle___________________
                                             Peter M. Daigle, Esquire
                                             BBO # 640517
                                             1550 Falmouth Road, Suite 10
                                             Centerville, MA 02632
                                             (508) 771-7444

 Dated: April 21, 2015

 Electronic Mail:

 Carolyn Bankowski, US Trustee
 John Fitzgerald, Asst. US Trustee

 First Class Mail:

 Massachusetts Department of Revenue
 Bankruptcy Unit
 P.O. Box 9564
 Boston, MA 02114

 Internal Revenue Service
 PO Box 7346
 Philadelphia, PA 19101

 Bank Of America
 Attention: Recovery Department
 4161 Peidmont Pkwy.
